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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE:                                           §
                                                 §          Case No. 22-33553 (CML)
ALEXANDER E. JONES                               §
                                                 §          (Chapter 7)
                                                 §
      DEBTOR.                                    §

                  NOTICE OF APPOINTMENT OF CHAPTER 7 TRUSTEE

       Pursuant to 11 U.S.C. §701, CHRISTOPHER R. MURRAY is appointed trustee in the

above styled case and is hereby designated to preside at the meeting of creditors held pursuant to 11

U.S.C. §341(a). Pursuant to the Federal Rules of Bankruptcy Procedure, Rule 2008, the trustee

will be deemed to have accepted this appointment unless it is rejected within seven (7) days of

receipt of this notice. If the trustee rejects this appointment, the trustee must notify the Court and the

United States Trustee. The bond for this case will be included under the trustee's existing blanket

bond. Unless creditors at the first meeting of creditors elect another trustee, the trustee appointed

herein shall serve as trustee without further appointment or qualification under the same bond.


Dated: June 14, 2024                                     KEVIN M. EPSTEIN
                                                         UNITED STATES TRUSTEE REGION 7

                                                         By:/s/ Jayson B. Ruff
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